      Case: 1:11-cr-00491-SL Doc #: 57 Filed: 05/25/12 1 of 5. PageID #: 597




                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


UNITED STATES OF AMERICA                          )         CASE NO. 1:11CR491
                                                  )
                                                  )
                                                  )         JUDGE SARA LIOI
                          PLAINTIFF,              )
vs.                                               )
                                                  )         ORDER
                                                  )
JAMES C. DIMORA, et al.,                          )
                                                  )
                                                  )
                         DEFENDANTS.              )

                 Before the Court is the motion of the government to dismiss the charges in

the indictment as to James C. Dimora only.1 (Doc. No. 56.) Defendant Dimora has not

filed a response, or otherwise indicated that he opposes the motion.

                 On March 9, 2012, the jury returned guilty verdicts against defendant

Dimora relating to 33 of the 34 counts in which he was charged in the related case of

United States v. Dimora, et al., Case No. 1:10CR387. (See Verdicts for James Dimora,

Case No. 1:10CR387, Doc. No. 738.) The charges of which Dimora was found guilty in

this related case, often referred to as “Dimora I,” included: RICO conspiracy, conspiracy

to commit mail and wire fraud and honest services mail fraud, Hobbs Act conspiracy,

bribery concerning programs receiving federal funds, tax fraud, obstruction of justice,

and destruction of records. (See id.) Dimora is scheduled to be sentenced in Dimora I on

July 25, 2012.


1
 The specific counts that that the government seeks to dismiss as to defendant Dimora, only, are Counts 2,
3, 4, and 12.
   Case: 1:11-cr-00491-SL Doc #: 57 Filed: 05/25/12 2 of 5. PageID #: 598




              Dimora I stemmed from the same federal investigation into suspected

public corruption in Cuyahoga County, Ohio that led to the October 20, 2011 filing of the

indictment in the present case, often referred to as “Dimora II.” The Dimora II indictment

charges co-defendant Michael Forlani with bribing several different public officials,

including Dimora. The indictment charges Dimora in Counts 2-4 and 12, for his alleged

role in these bribery schemes. The trial in the present matter is currently scheduled to

begin on October 17, 2012, with jury selection.

              On April 25, 2012, government’s counsel advised Dimora’s counsel in

writing that it was in the process of obtaining permission from the Department of Justice

in Washington, D.C. to dismiss the charges currently pending against defendant Dimora

in Dimora II. (Letter, Dimora’s Motion for a Continuance, Doc. No. 55-1.) Following the

receipt of the letter, Dimora’s counsel filed a motion to continue the October 17, 2012

trial date. (Doc. No. 55.) While the motion to continue was still pending, the government

received the necessary permission to withdraw the charges, and has moved to dismiss the

present indictment as against defendant Dimora.

              Rule 48(a) of the Federal Rules of Criminal Procedure provides:

       The government may, with leave of court, dismiss an indictment,
       information, or complaint. The government may not dismiss the
       prosecution during trial without the defendant’s consent.

              “Under Rule 48(a), courts must grant prosecutors leave to dismiss charges

unless dismissal is ‘clearly contrary to manifest public interest.’ ” United States v.

Stapleton, 297 F. App’x 413, 431 (6th Cir. 2008) (quoting Rinaldi v. United States, 434

U.S. 22, 30 (1977), and citing United States v. Robertson, 45 F.3d 1423, 1437 n. 14 (10th

                                            2
    Case: 1:11-cr-00491-SL Doc #: 57 Filed: 05/25/12 3 of 5. PageID #: 599




Cir. 1995) (courts are vested only with limited supervisory power of prosecutorial

charging decisions specifically under Rule 48(a)).2 In determining whether a dismissal is

“clearly contrary to manifest public interest,” district courts have considered whether the

decision to dismiss is made in bad faith. See United States v. Goodson, 204 F.3d 508, 512

(4th Cir. 2000) (collecting cases); see also Rinaldi, 434 U.S. at 30 (“The decision to

terminate this prosecution…was motivated by considerations which cannot fairly be

characterized as ‘clearly contrary to manifest public interest.’ ”); United States v.

Newsome, No. 89-5173, 1989 U.S. App. LEXIS 15818, at *4-*6 (6th Cir. Oct. 17, 1989)

(“Although the burden of proof is not on the prosecutor to prove that the dismissal is in

the public interest, the prosecutor is under an obligation to supply sufficient reasons—

reasons that constitute more than ‘a mere conclusory interest.’ ”); but see In re United

States, 345 F.3d 450, 453-54 (7th Cir. 2003) (questioning a district court’s authority to

deny an uncontested motion to dismiss upon a finding of bad faith).

                 The government offers the following reasons for its request to dismiss the

present indictment as against defendant Dimora: (1) Dimora’s presence in the second trial

will require significant resources; (2) the government and Dimora will expend resources

devoted to Dimora in Dimora II; (3) the Guidelines range that applies in Dimora I is

sufficiently high to appropriately capture all of Dimora’s criminal conduct currently

known to the government; (4) even if Dimora received a lower sentence in Dimora I than

the government anticipates under the Guidelines, the law does not mandate additional


2
 “The primary purpose of Rule 48(a) is the ‘protection of a defendant’s rights…to prevent harassment of a
defendant by charging, dismissing and re-charging without placing a defendant in jeopardy.’ ” Stapleton,
297 F. App’x at 431 (quoting United States v. Salinas, 693 F.2d 348, 351 (5th Cir. 1982) (further citations
omitted)).
                                                    3
   Case: 1:11-cr-00491-SL Doc #: 57 Filed: 05/25/12 4 of 5. PageID #: 600




punishment following any conviction in Dimora II as the charges in the present

indictment contain no mandatory minimum and the district could permit any sentence in

this matter to run concurrently with any sentence from Dimora I; (5) Dimora lacks the

financial resources to satisfy any restitution order in Dimora II as forfeiture in Dimora I

has divested Dimora of the majority of his assets; and (6) Dimora has already divested

himself of the only remaining proceeds from the Forlani bribery schemes by forfeiting his

share of his family’s residence during the Dimora I forfeiture proceeding.

               There is nothing in the record to suggest that the government has moved to

dismiss the charges against defendant Dimora for an “improper purpose.” See, e.g.,

Stapleton, 297 F. App’x at 431. “In this case, the government did not seek to delay the

trial, charge the defendant with different crimes, manipulate the jury, or otherwise harass

the defendant.” United States v. Sprofera, 299 F.3d 725, 727 (8th Cir. 2002). Rather, the

government’s request to dismiss was filed well in advance of the October 17, 2012 trial

date, and the government put defense counsel on notice of its intention to seek dismissal

prior to the filing of the motion. Moreover, the reasons offered in support of the motion

demonstrate that the decision to seek dismissal was the result of a good faith weighing of

various competing interests and a desire to conserve the resources of the courts, the

government, and defendant Dimora. Thus, for the reasons set forth by the government,

the Court finds that the dismissal of the present indictment as against defendant Dimora

would not be clearly contrary to manifest public interest. The government’s motion to




                                            4
    Case: 1:11-cr-00491-SL Doc #: 57 Filed: 05/25/12 5 of 5. PageID #: 601




dismiss is granted, and all charges against defendant Dimora are hereby dismissed.3 This

case shall proceed against defendant Michael Forlani as to all counts.

                 IT IS SO ORDERED.


Dated: May 25, 2012
                                                      HONORABLE SARA LIOI
                                                      UNITED STATES DISTRICT JUDGE




3
 In light of the Court’s ruling, defendant Dimora’s motion to continue the trial (Doc. No. 55) is denied as
moot.
                                                    5
